                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr294

UNITED STATES OF AMERICA            )
                                    )
      Plaintiff,                    )
                                    )
              v.                    )                                ORDER
                                    )
TITO THOMPSON et al                 )
                                    )
      Defendants.                   )
____________________________________)


       THIS MATTER is before the Court on its own motion. Attorney Reggie E. McNight has

fulfilled his obligations to show cause as to why he should not be sanctioned for failing to attend

the Court’s status conference on August 15, 2007 and failing to respond to the Court’s inquiries

since then. He has explained his absence in a personal conversation with the Court, and his

absence is hereby excused.



       IT IS SO ORDERED.



                                                 Signed: September 6, 2007




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